       Case 19-14111           Doc 4     Filed 05/17/19       Entered 05/17/19 10:17:39      Desc Main
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                                   UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF ILLINOIS


    IN RE:                                                       )
     2950 Golf, LLC                                              )       Case No. 19-14111
                                                                 )
                                                                 )       Chapter 11
                                                                 )
                                                                 )
                                       Debtor(s)                 )


                                Certification of Relatedness

    The undersigned attorney certifies that:

    1. ____ cases are being filed under Chapter ____
                                                11 that are related to each other, related to
       case(s) now pending, or both.

    2. The cases are related because:

        [ ] the debtors are husband and wife; or
        [✔] the debtor was a debtor in a previous case under Chapter 11; or
        [ ] the cases involve persons or entities that are affiliates as defined in §101(2) of the
            Bankruptcy Code.

    3. List of related bankruptcy case number(s) and case name(s):
           17-36643 2950 Golf, LLC




   Date of certification: ____________________
                          5/17/2019            Attorney’s Signature: _________________________
                                                                     /s/ Penelope N. Bach




                             This form must be filed in each related Bankruptcy Case

   Revised: 05/26/2017_lam
